                                          Case 2:22-cv-04355-JFW-JEM Document 15 Filed 07/05/22 Page 1 of 3 Page ID #:95




                                             1 ERIC BALL (CSB No. 241327)
                                               eball@fenwick.com
                                             2 KIMBERLY CULP (CSB No. 238839)
                                               kculp@fenwick.com
                                             3 FENWICK & WEST LLP
                                               801 California Street
                                             4 Mountain View, CA 94041
                                               Telephone: 650.988.8500
                                             5 Facsimile: 650.938.5200
                                            6 ANTHONY M. FARES (CSB No. 318065)
                                              afares@fenwick.com
                                            7 ETHAN M. THOMAS (CSB No. 338062)
                                              ethomas@fenwick.com
                                            8 FENWICK & WEST LLP
                                              555 California Street, 12th Floor
                                            9 San Francisco, CA 94104
                                              Telephone: 415.875.2300
                                           10 Facsimile: 415.281.1350
                                           11 Attorneys for Plaintiff
                                              YUGA LABS, INC.
                                           12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                           13                            UNITED STATES DISTRICT COURT
                                           14                          CENTRAL DISTRICT OF CALIFORNIA
                                           15
                                                                                        Case No.: 2:22-cv-04355-JFW-JEM
                                           16 YUGA LABS, INC.,
                                           17                                           PLAINTIFF YUGA LABS, INC.’S
                                                      Plaintiff,
                                                                                        DECLARATION OF LEAD TRIAL
                                           18          vs.                              COUNSEL RE: COMPLIANCE
                                           19 RYDER RIPPS, JEREMY CAHEN, and            WITH LOCAL RULES
                                              DOES 1-10,                                GOVERNING ELECTRONIC
                                           20                                           FILING
                                                         Defendants.
                                           21
                                                                                        Honorable John F. Walter
                                           22
                                           23
                                           24
                                           25
                                           26
                                           27
                                           28

                                                DECLARATION OF LEAD TRIAL COUNSEL                     CASE NO.   2:22-cv-04355-JFW-JEM
                                          Case 2:22-cv-04355-JFW-JEM Document 15 Filed 07/05/22 Page 2 of 3 Page ID #:96




                                             1          I, Eric Ball, declare:
                                             2          1.     I am an attorney admitted to practice in California and a partner in the
                                             3 law firm of Fenwick & West LLP, counsel for Plaintiff Yuga Labs, Inc. in the above-
                                             4 captioned matter. I make this declaration based on my own personal knowledge. If
                                             5 called as a witness, I could testify competently to the facts set forth here.
                                             6          2.     As Lead Counsel for Plaintiff in this action, I am submitting this
                                             7 declaration as requested by this Court pursuant to the Court’s Standing Order issued
                                             8 in this matter on June 30, 2022. See Dkt. 14.
                                             9          3.     I have registered as a CM/ECF User using my E-mail Address of
                                           10 Record: eball@fenwick.com. I have read the Court’s Standing Order and the Local
                                           11 Rules.
                                           12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                           13           I declare under penalty of perjury that the foregoing is true and correct.
                                           14 Executed on the 5th day of July, 2022.
                                           15
                                           16 Dated: July 5, 2022                       FENWICK & WEST LLP
                                           17                                           By: /s/ Eric Ball
                                           18                                               Eric Ball
                                           19                                           Attorneys for Defendant
                                                                                        YUGA LABS, INC.
                                           20
                                           21
                                           22
                                           23
                                           24
                                           25
                                           26
                                           27
                                           28

                                                 DECLARATION OF LEAD TRIAL COUNSEL         1                 CASE NO. 2:22-cv-04355-JFW-JEM
                                          Case 2:22-cv-04355-JFW-JEM Document 15 Filed 07/05/22 Page 3 of 3 Page ID #:97




                                             1                                       PROOF OF SERVICE
                                             2          The undersigned declares as follows:
                                             3          I am a citizen of the United States and employed in Santa Clara County, State
                                             4 of California. I am over the age of eighteen years and not a party to the within-entitled
                                             5 action. My business address is 801 California Street, Mountain View, CA 94041. On
                                             6 the date set forth below, I served a copy of the following document PLAINTIFF YUGA
                                             7 LABS, INC.’S DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH
                                             8 LOCAL RULES GOVERNING ELECTRONIC FILING on the interested parties in the
                                             9 subject action by placing a true copy thereof as indicated below, addressed as follows:
                                           10                                        Ryder Ripps
                                           11                                        31609 2nd Street
                                                                                     Acton, CA 93510
                                           12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                           13    ☒      BY US MAIL: by placing the document(s) listed above in a sealed envelope
                                                        for collection and mailing following our ordinary business practices. I am
                                           14
                                                        readily familiar with our ordinary business practices for collecting and
                                           15           processing mail for the United States Postal Service, and mail that I place for
                                                        collection and processing is regularly deposited with the United States Postal
                                           16
                                                        Service that same day with postage prepaid.
                                           17
                                           18           I declare under penalty of perjury under the laws of the State of California and
                                           19 the United States that the above is true and correct.
                                           20
                                           21 Dated: July 5, 2022
                                                                                               Marti Guidoux
                                           22
                                           23
                                           24
                                           25
                                           26
                                           27
                                           28

                                                 DECLARATION OF LEAD TRIAL COUNSEL            2                CASE NO. 2:22-cv-04355-JFW-JEM
